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                               Exhibit
contract_idcaseid   contract_n organizatio CallCenterI erc       cas_casestaERC_Descri TimeCaseStarted     TimeCaseE CaseDurati TimeCallMa
H0169      D0800225 UNITEDHEALocal CCP             31      293.4       293 Plan Call Ce 2/19/2024 14:11:50 ########       10.8 19FEB24:14
H0169      D1400487 UNITEDHEALocal CCP             31      294.1       294 LEP: Timeo 4/2/2024 14:13:00 ########          13.2 02APR24:14
                                                                                                                                             Case 6:24-cv-00357-JDK
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callerhanguHangUpBy CallEnded CallDuratio time_logstadate_logstatime_logendate_logenfinishnote UnprofessioInterpreter ctype       clanguage
 ######## Resp      ########         9.3 14:11:53 ######## 14:21:13 ######## was able to press option 6 for Fren              3           3
4:13:03    Intvw    ########        11.1 14:13:03 4/2/2024 14:24:11 4/2/2024 IVR did not respond to my selectio               3           4
                                                                                                                                              Case 6:24-cv-00357-JDK
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quarter       week      phone      Assigned_c Assigned_PPLANNAMEORGNAME ts0_date ts0_time ts1_date   ts1_time   ts2_date ts2_time
          1           8 1-877-485- H1045              5 UHC Prefer PREFERRED ######## 14:11:53                   ######## 14:12:05
          2          14 1-877-485- H1045              5 UHC Prefer PREFERRED 4/2/2024 14:13:04                    4/2/2024 14:13:18
                                                                                                                                      Case 6:24-cv-00357-JDK
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ts3_date ts3_time ts4_date ts4_time ts5_date ts5_time ts6_date ts6_time ts7_date ts7_time TTY_Phone IVR_TIME HOLD_TIM
 ######## 14:12:05 ######## 14:12:49                    ######## 14:21:21 ######## 14:22:38                43     512
  4/2/2024 14:13:18 4/2/2024 14:14:19 4/2/2024 14:15:54 4/2/2024 14:23:54 4/2/2024 14:26:09               101      53
                                                                                                                        Case 6:24-cv-00357-JDK
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LEP_HOLDTTTY_HOLDTCASETYPEInMMP_IndicINDSNP   resCallCoundayofwk timeofday ZIPCODE COUNTY      STATE     QUESTION1QUESTION2
       -1         D                0                   1        1       14     33093 Broward   Florida         34       26
     480          D                0                   1        2       14     33093 Broward   Florida         24       27
                                                                                                                              Case 6:24-cv-00357-JDK
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QUESTION3ANSWER1 ANSWER2 ANSWER3 A1   O_A1M1   A2   O_A2M1   A3   O_A3M1   CCETIMEZOTTY_TYPE ANSWERED
      31      $0 Yes        Yes                                            CST                     1
      34 No      She can pay    $0                                         CST                     1
                                                                                                        Case 6:24-cv-00357-JDK
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            90
LIVE
        3
        1
IVRResult HOLD
         1
         1
IVR10
IVR9
IVR8
IVR7
IVR6
IVR5
IVR4
IVR3
IVR2
        6
IVR1

            5X2
O_LIVE2M1O_LIVE2M2O_LIVE2M3EndScreen EndScreen2UnprofessioINTERPRET linesttime lineendtime
                                                                              9        21
                                                                              9        21
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